Case 1:15-cv-07433-LAP Document 1330-20 Filed 01/05/24 Page 1 of 10




                     EXHIBIT B
Case 1:15-cv-07433-LAP Document 1330-20 Filed 01/05/24 Page 2 of 10




                                                             GM_01036
                                                          CONFIDENTIAL
Case 1:15-cv-07433-LAP Document 1330-20 Filed 01/05/24 Page 3 of 10




                                                             GM_01037
                                                          CONFIDENTIAL
Case 1:15-cv-07433-LAP Document 1330-20 Filed 01/05/24 Page 4 of 10




                                                             GM_01038
                                                          CONFIDENTIAL
Case 1:15-cv-07433-LAP Document 1330-20 Filed 01/05/24 Page 5 of 10




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                                                          CONFIDENTIAL
Case 1:15-cv-07433-LAP Document 1330-20 Filed 01/05/24 Page 6 of 10




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                                                          CONFIDENTIAL
Case 1:15-cv-07433-LAP Document 1330-20 Filed 01/05/24 Page 7 of 10




                                                             GM_01041
                                                          CONFIDENTIAL
Case 1:15-cv-07433-LAP Document 1330-20 Filed 01/05/24 Page 8 of 10




                                                             GM_01042
                                                          CONFIDENTIAL
Case 1:15-cv-07433-LAP Document 1330-20 Filed 01/05/24 Page 9 of 10




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                                                          CONFIDENTIAL
Case 1:15-cv-07433-LAP Document 1330-20 Filed 01/05/24 Page 10 of 10




                                                              GM_01044
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